Case 1:15-cv-08410-ER Document 1

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Collective Plaintiffs, and proposed Class

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

CHRISTIAN ZAMBRANO, LUZ
DURANGO, MOIRA RIVEROS, and
RIGOBERTO ROMERO, on behalf of
themselves and all others similarly situated,

Plaintiffs,
V.
STRATEGIC DELIVERY SOLUTIONS,
LLC., DAVID KRONICK, ANDREW
KRONICK, and MIKE RUCCIO,

Defendants.

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INDEX NO.

COMPLAINT

FLSA COLLECTIVE ACTION AND
RULE 23 CLASS ACTION

DEMAND FOR JURY TRIAL

Plaintiffs Christian Zambrano, Luz Durango, Moira Riveros, and Rigoberto Romero, on

behalf of themselves and on behalf of all others similarly situated, by and through their

undersigned counsel, allege as follows:

JURISDICTION AND VENUE

1. This Court has original federal question jurisdiction under 28 U.S.C. § 133]

because this case is brought under the Fair Labor Standards Act, 29 U.S.C. § 201, ef seq.

(“FLSA”). This Court has supplemental jurisdiction over the New York state law claims, as they
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are so related to the claims in this action within the Court’s original jurisdiction that they form..;:
part of the same case or controversy under Article III of the United States Constitution. -

2. Defendants are subject to personal jurisdiction in New York.

3. Venue is proper in this District because Defendants conduct business in this: © :

District, and a substantial part of the acts and/or omissions giving rise to the claims herein
alleged took place in this District.

PARTIES
Defendants

4. Defendant Strategic Delivery Services, LLC. (“SDS”) is a limited liability
company organized and existing under the laws of New York.

5. Upon information and belief, SDS’s gross revenue each year exceeds $500,000.

6. SDS is an employer within the meaning of the FLSA.

7. Defendant David Kronick is an owner and Chief Executive Officer of SDS.

8. Upon information and belief, Defendant David Kronick exercises sufficient
control of SDS’s day to day operations to be considered an employer of Plaintiffs and those
similarly situated under the FLSA.

9. Defendant Andrew Kronick is an owner and Managing Partner of SDS.

10. | Upon information and belief, Defendant Andrew Kronick exercises sufficient
control of SDS’s day to day operations to be considered an employer of Plaintiffs and those
similarly situated under the FLSA.

11. Defendant Mike Ruccio is the Chief Operating Officer of SDS.
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12. Upon information and belief, Defendant Ruccio exercises sufficient:contfol of
SDS’ day to day operations to be considered an employer of Plaintiffs. and those:similarly. 2.0.)
situated under the FLSA: » » -:

Plaintiff Christian Zambrano

13. Plaintiff Christian Zambrano has worked for SDS as a delivery driver since
October 2013.

14. Prior to April 2015, Zambrano regularly worked 70 hours or more per week for
Defendants.

15. Zambrano currently regularly works 50 hours or more per week for Defendants.

16. Defendants require Zambrano to be “on call” on certain weekends, during which
time he works thirteen (13) hours per day both weekend days.

17. | Defendants do not pay Zambrano an overtime premium when he works in excess
of 40 hours in a workweek.

18. | Zambrano has made deliveries for SDS in this District. For example, for at least
six months of his employment with SDS, he made deliveries in each of New York, Bronx,
Westchester, Orange, and Dutchess Counties multiple times per week.

19. Prior to April 2015, Zambrano estimates that his average gross pay was
approximately $1,149 per week.

20. Zambrano estimates that his current average gross pay is approximately $849 per
week.

21. Defendants require Zambrano to maintain a high level of vehicle insurance
coverage and to use and maintain his own vehicle to make deliveries.

22. Defendants require Zambrano to pay for his own auto maintenance, gasoline, and

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» toll fees and'do not reimburse him for those expenses.
“ose 232.0: Defendants deduct a rental fee for a scanner from. Zambrano’s paycheck.
24. Defendants deduct an “administrative fee” and a vatiety of other fees each week
' from’Zambrano’s paychecks.
~ 25. . Defendants require Zambrano to wear an SDS uniform.

26. Zambrano will be able to state his compensation, hours worked, and deductions
from his paycheck with more specificity after reviewing the records Defendants were required to
keep under New York and federal law.

Plaintiff Moira Riveros

27. Plaintiff Moira Riveros has worked as a delivery driver for SDS since 2014.

28.  Riveros regularly works in excess of 50 hours or more per week for SDS.

29. Defendants require Riveros to be “on call” on certain weekends.

30. Defendants do not pay Riveros an overtime premium when she works in excess of
40 hours in a workweek.

31. | Riveros makes deliveries for SDS in this District. For example, she makes
deliveries in New York County multiple times a week. She also regularly makes deliveries in
Bronx and Westchester Counties.

32.  Riveros estimates that her average gross pay is approximately $2,500 per week.

33. Defendants require Riveros to maintain a high level of vehicle insurance coverage
and to use and maintain her own vehicle to make deliveries.

34. | Defendants require Riveros to pay for her own auto maintenance, gasoline, and
toll fees and do not reimburse her for those expenses.

35. Defendants deduct a rental fee for a scanner from Riveros’ paycheck.

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36. Defendants deduct an “administrative fee” and a variety of other fees each week
from Riveros’ paychecks.

37. Defendants require Riveros to wear an SDS uniform.

38.  Riveros will be able to state her compensation, hours worked, and deductions
from her paycheck with more specificity after reviewing the records Defendants were required to
keep under New York and federal law.

Plaintiff Luz Durango

39. Plaintiff Luz Durango has worked as a delivery driver for SDS for approximately
five (5) years.

40. | Durango regularly works between 75 and 85 hours per week for SDS.

41. Defendants require Durango to be “on call” on certain weekends.

42. Defendants do not pay Durango an overtime premium when she works in excess
of 40 hours in a workweek.

43. Durango has made deliveries for SDS in this District. For example, for much of
her employment with SDS she made deliveries in Bronx and Westchester Counties on a daily
basis.

44. _ Durango estimates that her average gross pay is between $1,900 and $2,000 per
week.

45. Defendants require Durango to maintain a high level of vehicle insurance
coverage and to use and maintain her own vehicle to make deliveries.

46. Defendants require Durango to pay for her own auto maintenance, gasoline, and
toll fees and do not reimburse her for those expenses.

47. Defendants deduct a rental fee for a scanner from Durango’s paycheck.

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48. Defendants deduct an “administrative fee” and a variety of other fees each week
from Durango’s paychecks.

49. Defendants require Durango to wear an SDS uniform.

50. | Durango will be able to state her compensation, hours worked, and deductions
from her paycheck with more specificity after reviewing the records Defendants were required to
keep under New York and federal law.

Plaintiff Rigoberto Romero

51. Plaintiff Rigoberto Romero has worked for SDS as a delivery driver since 2014.

52. Prior to March 18, 2015, Romero worked approximately 70 hours per week.

53. Defendants require Romero to be “on call” on certain weekends, working from
Friday night through Monday morning in addition to his regular schedule.

54. | Defendants do not pay Romero an overtime premium when he works in excess of
40 hours in a workweek.

55. | Romero has made deliveries for SDS in this District. For example, for over a year
of his employment, he made deliveries to Bronx County approximately twice a month.

56. Prior to March 18, 2015, Romero estimates that his average gross pay was
approximately $1,800 per week.

57. Defendants require Romero to maintain a high level of vehicle insurance coverage
and to use and maintain his own vehicle to make deliveries.

58. Defendants require Romero to pay for his own auto maintenance, gasoline, and
toll fees and do not reimburse him for those expenses.

59. Defendants deduct a rental fee for a scanner from Romero’s paycheck.

60. Defendants deduct an “administrative fee” and a variety of other fees each week

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from Romero’s paychecks.

61. Defendants require Romero to wear an SDS uniform.

62. Romero will be able to state his compensation, hours worked, and deductions
from her paycheck with more specificity after reviewing the records Defendants were required to
keep under New York and federal law.

CLASS AND COLLECTIVE ALLEGATIONS

Collective Action Allegations

63. Plaintiffs sue on behalf of themselves and all other SDS drivers, couriers and
delivery drivers (or in comparable roles with different titles) employed within the last three years
(the “FLSA Collective”). This is an appropriate collective or representative action under 29
ULS.C. § 216(b).

64. Plaintiffs and the other drivers, couriers and delivery drivers are similarly situated
in that they are all subject to Defendants’ common plan or practice of designating them as
independent contractors (when in fact their work and the extent of control SDS exerted over
them rendered them employees), failing to pay them overtime compensation, requiring them to
provide and maintain their own vehicles and fuel, and making unlawful deductions from their
paychecks.

The Class

65. Plaintiffs bring the state law causes of action under Rule 23 of the Federal Rules
of Civil Procedure on behalf of themselves and all persons who work or have worked for SDS as
drivers, couriers or delivery drivers (or in comparable roles with different titles) in New York
state between the date that is six years before the date this Complaint is filed and the date of final

judgment in this matter (the “Class”).
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66. The persons in the Class identified above are so numerous that joinder of all
members is impracticable. Although the precise number of such persons is not known to the
Plaintiffs, the facts on which the calculation of that number can:bé-based are presently within the
sole control of Defendants.

67. | Upon information and belief, the size of the Class is at least 100 workers.

68. Defendants acted or refused to act on grounds generally applicable to the Class,
thereby making appropriate final injunctive relief or corresponding declaratory relief with
respect to the Class as a whole.

69. The state law causes of action are properly maintainable as a class action under
Federal Rule of Civil Procedure 23(b)(3). There are questions of law and fact common to the
Class that predominate over any questions solely affecting individual members of the Class,
including but not limited to:

(a) whether Defendants employed Plaintiffs and the Class Members under the New York

Labor Law (““NYLL”);

(b) whether Defendants violated New York Labor Law (“NYLL”), Articles 6 and 19, and

the supporting New York State Department of Labor regulations;

(c) whether Defendants refused to pay Plaintiffs and the Class members overtime pay for

hours worked in excess of 40 hours per workweek;

(d) whether Defendants failed to keep true and accurate time and pay records for all

hours worked by Plaintiffs and the Class members, and other records required by the
NYLL;
(e) whether it was Defendants’ policy or practice to make unlawful deductions from the

wages of Plaintiffs and the Class;
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(f) whether it was Defendants’ policy or practice to fail to furnish Plaintiffs and the Class . ©
with an accurate statement of wages, hours worked, rates paid, and gross wages as
- required by the NYLL;

(g) whether Defendants’ policy of failing to pay workers in accordance with New York

law was instituted willfully or with reckless disregard of the law; and

(h) the nature and extent of class-wide injury and the measure of damages for those

injuries.

70. Plaintiffs’ claims are typical of the claims of the Class.

71. Plaintiffs and the members of the Class work or have worked for Defendants and
have been subjected to their policy and pattern or practice of misclassifying them as independent
contractors and failing to pay overtime wages for hours worked in excess of 40 hours per week.

72. Plaintiffs and the members of the Class have been subject to Defendants’ policy
and pattern or practice of failing to pay them overtime and making unlawful deductions to their
pay.

73. Plaintiffs and the Class members enjoy the same statutory rights under the NYLL
to be paid for all hours worked, and to be paid overtime wages.

74. Plaintiffs and the members of the Class all have sustained similar types of
damages as a result of Defendants’ failure to comply with the NYLL.

75. Plaintiffs and the members of the Class all have been injured in that they have
been uncompensated or under-compensated due to Defendants’ common policies, practices, and
patterns.

76. Defendants acted and refused to act on grounds generally applicable to the Class,

thereby making declaratory relief with respect to the Class appropriate.

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77. Plaintiffs will fairly and adequately represent and protect the interests of the Class.

78. Plaintiffs understand that, as the class representatives, they assume a fiduciary
responsibility to the Class to represent its interests fairly and adequately.

79. Plaintiffs recognize that as the class representatives, they must represent and
consider the interests of the Class just as they would represent and consider their own interests.

80. Plaintiffs understand that in decisions regarding the conduct of the litigation and
its possible settlement, they must not favor they own interests over those of the Class.

81. Plaintiffs recognize that any resolution of a class action lawsuit, including any
settlement or dismissal thereof, must be in the best interests of the Class.

82. Plaintiffs understand that in order to provide adequate representation, they must
remain informed of developments in the litigation, cooperate with class counsel by providing
them with information and any relevant documentary material in their possession, and testify, if
required, in a deposition and in trial.

83. Plaintiffs have retained counsel competent and experienced in complex class
action employment litigation.

84. | Aclass action is superior to other available methods for the fair and efficient
adjudication of this litigation — particularly in the context of wage litigation like the present
action, where individual plaintiffs may lack the financial resources to vigorously prosecute a
lawsuit in federal court against a corporate defendant.

85. | The members of the Class have been damaged and are entitled to recovery as a
result of Defendants’ common and uniform policies, practices, and procedures.

86. Although the relative damages suffered by individual members of the Class are

not de minimis, such damages are small compared to the expense and burden of individual

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prosecution of this litigation.

87. In addition, class treatment is superior because it will obviate the need for unduly

duplicative litigation that might result in inconsistent judgments about Defendants’ practices.
FACTS

88. Plaintiffs’ consent to sue forms are attached hereto as Exhibit A.

89. Plaintiffs, FLSA Collective Plaintiffs and the NYLL Class Members share
common job duties — making deliveries for SDS’s customers.

90. Defendants designated Plaintiffs, FLSA Collective Plaintiffs and the NYLL Class
Members as independent contractors.

91. The decision to classify Plaintiffs, FLSA Collective Plaintiffs and NYLL Class
Members as independent contractors was a central company policy and did not vary on a person-
by-person basis.

92. Defendants pay Plaintiffs, FLSA Collective Plaintiffs and NYLL Class Members
a flat rate for some delivery routes and a per-stop rate for other routes.

93. Defendants require each driver to sign an “Independent Vendor Agreement for
Transportation Services” (“Vendor Agreement”), which designates him or her as an independent
contractor or “Vendor.”

94. | However, Defendants exercise comprehensive control over the manner, means,
details and methods by which over Plaintiffs, FLSA Collective Plaintiffs and NYLL Class
Members perform services for Defendants.

95. Defendants require Plaintiffs, FLSA Collective Plaintiffs and NYLL Class
Members to be at a designated location to pick up items for delivery at a fixed time.

96. Defendants require Plaintiffs, FLSA Collective Plaintiffs and NYLL Class

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Members to adhere to a particular delivery schedule and arrive at each stop on the route by a
particular time.

97. Defendants use GPS technology to track Plaintiffs, FLSA Collective Plaintiffs and
NYLL Class members on their routes and admonished them for running behind schedule.

98. Defendants have taken routes away from Plaintiffs and, upon information and
belief, FLSA Collective Plaintiffs and NYLL Class members who declined to accept an
assignment and threatened such employees with termination.

99. Defendants require Plaintiffs, FLSA Collective Plaintiffs and NYLL Class
Members to take turns being “on call” for specific weekend shifts.

100. Defendants specified the equipment Plaintiffs, FLSA Collective Plaintiffs and
NYLL Class members had to furnish and maintain and required them to rent such equipment
from SDS.

101. Defendants specified minimum levels of automobile insurance Plaintiffs, FLSA
Collective Plaintiffs and NYLL Class Members were required to carry.

102. Defendants required Plaintiffs, FLSA Collective Plaintiffs and NYLL Class to
wear SDS logo uniforms and specified the color of shoes and pants to be worn with the uniforms.

103. Defendants required Plaintiffs, FLSA Collective Plaintiffs and NYLL Class
Members to seek permission to assign their routes to substitute drivers while on vacation and
frequently denied such requests.

104. Plaintiffs, FLSA Collective Members, and the Class members were not in an
independently established trade, occupation, profession or business.

105. Plaintiffs, FLSA Collective Plaintiffs and NYLL Class members were not in

business for themselves, but rather depended on Defendants’ business for the opportunity to

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render services to the long-term customers of Defendants.

106. Defendants directed Plaintiffs and, upon information and belief, FLSA Collective::.:°”

Plaintiffs and NYLL Class members, to register an independent business as a condition of
employment and set a deadline for employees to do so.

107. None of the “independent businesses” owned by Plaintiffs, and, upon information
and belief, few if any of the “independent businesses” owned by FLSA Collective Plaintiffs and
NYLL Class members existed prior to the owner’s affiliation with SDS.

108. Plaintiffs and, upon information and belief, FLSA Collective Plaintiffs and NYLL
Class members had no employees working under them and were not permitted to hire
employees.

109. Plaintiffs, FLSA Collective Plaintiffs, and the Class members had no opportunity
for profit or loss without Defendants.

110. Plaintiffs, FLSA Collective Plaintiffs, and the Class members could not deal
directly with Defendants’ customers to offer their delivery services.

111. Plaintiffs, FLSA Collective Plaintiffs, and the Class members were required to
work for Defendants to provide this service.

112. Plaintiffs’, FLSA Collective Plaintiffs’, and the Class members’ relationship with
Defendants was neither temporary nor sporadic.

113. Upon information and belief, Defendants did not record the amount of hours spent
by Plaintiffs, FLSA Collective Plaintiffs and NYLL Class Members performing deliveries.

114. Plaintiffs and, upon information and belief, the FLSA Collective Members and
Class members, worked full-time.

115. Plaintiffs, FLSA Collective Plaintiffs and NYLL Class Members frequently work

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in excess of forty (40) hours per workweek.

116. Defendants have unlawfully failed to pay Plaintiffs and the other FLSA Collective
Plaintiffs and NYLL Class Members one-and-one-half times their regular rate of pay for hours .
that they worked in excess of forty (40) per workweek.

117. Defendants deduct the cost of workers’ compensation insurance from Plaintiffs’,
FLSA Collective Plaintiffs’ and NYLL Class members’ paychecks.

118. Plaintiffs, FLSA Collective Plaintiffs, and the Class members are not reimbursed
for maintaining their vehicles, for most of their gasoline expenses or for the purchases of their
scanners.

119. Defendants require Plaintiffs, FLSA Collective Plaintiffs, and Class members to
use a specialized scanner, which they are required to rent from SDS and are not permitted to
purchase.

120. Defendants deduct rental fees for the scanners from the paychecks of Plaintiffs,
FLSA Collective Plaintiffs and Class members.

121. Defendants deduct administrative fees, “waiver deductions”, “paperwork fees”,
and other unlawful deductions from the paychecks of Plaintiffs, FLSA Collective Plaintiffs and
Class members.

122. Defendants’ manager Cesar Mateo requires SDS’s drivers to pay him to obtain
and keep their routes. For example, Mateo has regularly required Plaintiffs Zambrano and
Riveros to pay him between $100 and $300 per week to keep their routes.

123. Defendants do not provide Plaintiffs and NYLL Class members with the notices

required by NYLL § 195.

124. Defendants’ violations have been willful and intentional in that they have known

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all along that Plaintiffs and other drivers, couriers and delivery drivers were employees, worked
more than forty hours per week, and the requirements of the law. | -

FIRST CAUSE OF ACTION
FLSA Overtime Violations, 29 U.S.C. §§ 201 et seq.
(On behalf of Plaintiffs and the FLSA Collective)

125. Plaintiffs re-allege and incorporate by reference the previous paragraphs as if they
were set forth again herein.

126. Defendants have engaged in a widespread pattern, policy, and practice of violating
the FLSA, as detailed in this Complaint.

127. Atall times relevant, Plaintiffs and the FLSA Collective members were employed
by an entity engaged in commerce and/or the production or sale of goods for commerce within
the meaning of 29 U.S.C. §§ 203(e), (m), and 206(a), and/or they were engaged in commerce
and/or the production or sale of goods for commerce within the meaning of 29 U.S.C. §§ 203(e),
(m), and 206(a).

128. At all times relevant, Plaintiffs and the FLSA Collective members were or have
been employees within the meaning of 29 U.S.C. §§ 203(e), (m) and 206(a).

129. At all times relevant, Defendants have been employers of Plaintiffs and the FLSA
Collective members, engaged in commerce and/or the production of goods for commerce within
the meaning of 29 U.S.C. §§ 203(e) and 206(a).

130. Defendants have failed to pay Plaintiffs and the FLSA Collective members
overtime wages for hours that they worked in excess of 40 hours in a workweek.

131. Based on the foregoing, Defendants’ conduct in this regard was a willful violation
of the Fair Labor Standards Act and entitles Plaintiffs and all other similarly situated drivers,
couriers, and delivery drivers (or those in comparable roles with different titles) who opt into this

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litigation to compensation for all overtime hours worked, liquidated damages, attorneys’ fees and
court costs.

SECOND CAUSE OF ACTION
New York State Overtime Violations, N.Y. Lab. L. §§ 650 et seq.,
N.Y. Comp. Codes R. & Regs. tit. 12, § 142-2.2
(On behalf of Plaintiffs and the Class)

132. Plaintiffs reallege and incorporate by reference all allegations in all preceding
paragraphs.

133. Atall relevant times, Defendants have been, and continue to be, employers of
Plaintiffs and the NYLL Class members, and Plaintiffs and the Class members have been
employees of Defendants, within the meaning of the NYLL §§ 190, 651(5), 652 and supporting
New York State Department of Labor (““NYSDOL”) regulations.

134. Plaintiffs and the NYLL Class members were and are non-exempt employees
entitled to be paid overtime compensation for all overtime hours worked under the NYLL and
supporting regulations.

135. Defendants have failed to pay Plaintiffs and the Class members overtime wages
for hours that they worked in excess of 40 hours in a workweek.

136. Through their knowing and intentional failure to pay Plaintiffs and the members
of the Class overtime for hours worked in excess of 40 in a workweek, Defendants have willfully
violated the NYLL Article 19, §§ 650 et seq., and supporting NYSDOL regulations.

137. Asa direct and proximate result of Defendants’ unlawful conduct, as set forth
herein, Plaintiffs and the Class members have sustained damages, including loss of earnings for
hours of overtime worked on behalf of Defendants in an amount to be established at trial,
liquidated damages, prejudgment interest, and costs and attorneys’ fees, pursuant to statute and

other applicable law.
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THIRD CAUSE OF ACTION
New York Notice Violations, NYLL §§ 195, 198
(On behalf of Plaintiffs and the Class)

138. Plaintiffs reallege and incorporate by reference all allegations in all preceding
paragraphs.

139. Defendants did not provide Plaintiffs and the Class members with the notices
required by NYLL § 195.

140. Asaresult of Defendants’ unlawful conduct, Plaintiffs and the Class members are
entitled to an award of damages pursuant to NYLL § 198, in amount to be determined at trial,
pre- and post-judgment interest, costs and attorneys’ fees, as provided by N.Y. Lab. Law § 663.

FOURTH CAUSE OF ACTION
New York Unlawful Deductions and

Untimely Payment of Wages, NYLL §§ 191, 193
(On behalf of Plaintiffs and the Class)

141. Plaintiffs reallege and incorporate by reference all allegations in all preceding
paragraphs.

142. Defendants have willfully reduced the wages of Plaintiffs and the members of the
Class by making unlawful deductions from their wages.

143. In addition, Defendants have required Plaintiffs and the Class to incur expenses
for Defendants’ benefit without reimbursement. The required and unreimbursed expenses
incurred by Plaintiffs and the members of the Class for the benefit of Defendants were unlawful
deductions from the wages of Plaintiffs and the Class members, in violation of NYLL Article 6,
§ 193.

144. Defendants willfully failed to pay Plaintiffs and the Class all compensation owed

them in a timely manner, in violation of NYLL § 191.

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145.

Due to these violations, Plaintiffs and the members of the Class are entitled to

recover from Defendants deductions from their wages, liquidated damages, reasonable attorneys’

fees and costs of the action, and pre-judgment and post-judgment interest.

DEMAND FOR RELIEF

WHEREFORE, Plaintiffs pray for relief as follows:

a.

Designation of this action as a collective action pursuant to the FLSA and prompt
issuance of notice pursuant to 29 U.S.C. § 216(b);

Certification of the state law claims in this action as a class action pursuant to
Federal Rule of Civil Procedure 23;

Designation of Plaintiffs as Class Representatives;

A declaratory judgment that the practices complained of herein are unlawful
under appropriate state law;

An award of damages, according to proof, including liquidated damages, to be
paid by Defendants;

Penalties available under applicable law;

Restitution;

Pre-Judgment and Post-Judgment interest, as provided by law;

Costs of action incurred herein, including expert fees;

Attorneys’ fees including fees pursuant to 29 U.S.C. § 216, N.Y. Lab. L. § 663
and other applicable statutes; and

Such other injunctive and equitable relief as the Court may deem just and proper.

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JURY DEMAND

Plaintiffs hereby demand a jury trial on all causes of action and claims with respect to

which they have a right to a jury trial.

Dated: October 26, 2015
New York, NY
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Lali

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Attorneys for the Named Plaintiffs, proposed
FLSA Collective Plaintiffs, and proposed Class

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EXHIBIT A
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CONSENTIMIENTO PARA DEMANDAR

Estoy actualmente o anteriormente empleado por SDS y también por entidades y personas
relacionadas. Doy mi consentimiento para ser un demandante én una accién para colectar
salarios pendientes. Estoy de acuerdo que estoy obligado por los términos del contrato de

. Servicios profesionales firmada por los demandantes nombrados en este caso.

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CONSENTIMIENTO PARA DEMANDAR

Estoy actualmente o anteriormente empleado por SDS y también por entidades y personas
relacionadas. Doy mi consentimiento para ser un demandante en una accién para colectar
salarios pendientes. Estoy de acuerdo que estoy obligado por los términos del contrato de

cussuj Servicios profesionales firmada por los demandantes nombrados en este caso.

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Nombre

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CONSENTIMIENTO PARA DEMANDAR

Estoy actualmente o anteriormente empleado por SDS y también por entidades y personas -
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.. _ Salarios pendientes. Estoy de acuerdo que estoy obligado por los términos del contrato de
‘3 ohagé Servicios profesionales firmada por los demandantes nombrados en este caso.

Wetra Viueyos

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CONSENTIMIENTO PARA DEMANDAR

Estoy actualmente o anteriormente empleado por SDS y también por entidades y personas
relacionadas. Doy mi consentimiento para ser un demandante en ina accién pare colectar

__ Salarios pendientes. Estoy de acuerdo que estoy obligado por los términos del contrato de
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